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                                                       BIOGRAPHY: Paul Trahan


                                Paul Trahan
                                Partner

                                AREAS OF CONCENTRATION
                                •   Complex Commercial Litigation         •   Injunctions & Extraordinary
                                •   High Tech Litigation                      Remedies
                                •   Real Estate & Construction            •   Product Liability Litigation
                                    Litigation                            •   Class Action Litigation
                                •   Trade Secret                          •   Texas Public Information Act
                                •   Copyright & Patent Litigation             Litigation
                                                                          •   Fiduciary Litigation

                                EXPERIENCE
                                As a partner in Fulbright & Jaworski’s Austin office, Paul Trahan's litigation
Paul Trahan                     practice is focused on complex commercial matters in a variety of industries,
ptrahan@fulbright.com           including technology, real estate, construction, banking, motor vehicle, health
D: +1 512 536 5288              care, mining and retail.
Austin                          Paul has significant jury trial, bench trial and arbitration experience. He has
98 San Jacinto Boulevard
Suite 1100                      represented corporate clients across the country, handling all aspects of pretrial
Austin, TX 78701-4255           and trial work. Paul attempts to bring common sense and creativity to the table
T: +1 512 474 5201
F: +1 512 536 4598
                                along with his passion for the courtroom.

Industries                      Prior to attending law school and joining Fulbright & Jaworski, Paul was a
  • Banking and Finance         commercial banker in Houston, Texas.
  • Construction and Building
    Materials
  • Government
                                REPRESENTATIVE EXPERIENCE
  • Real Estate                 • Take nothing judgment for a hospital holding company following a jury trial
  • Semiconductor                 and appeal to the Texas Supreme Court
  • Motor Vehicle
  • Technology                  •   Take nothing judgment for a motor vehicle manufacturer following a jury trial
  • Transportation
                                •   Favorable plaintiff's verdict for a Mexican transport company against a multi-
                                    national company, including findings of fraud and breach of contract
                                •   Summary Judgment in favor of a lottery services provider against a former
                                    consultant, successfully disposing of the entire case
                                •   Summary Judgment in favor of a city in a death case, successfully disposing
                                    of the entire case
                                •   Injunction preventing disclosure of proprietary commercial information under
                                    the Public Information Act in response to a competitor's request
                                •   Injunction preventing disclosure of personal information under the Public
                                    Information Act in response to media requests
                                •   Favorable ruling in Bankruptcy Court following trial of a dispute over an
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                                                 BIOGRAPHY: Paul Trahan

                            aircraft
                        •   Transfer of venue in a class action lawsuit, resulting in plaintiff's dismissal of
                            the entire case
                        •   Appointment and successful representation of a receiver in managing and
                            liquidating an internet banking company
                        •   Successful defense of a court reporting company before its governing state
                            agency
                        •   Injunctions and appointment of receivers in various pre-foreclosure
                            proceedings, including appointment of federal court receiver regarding
                            properties in multiple states
                        •   Successful representations of a pipeline company and transmission company
                            in condemnation proceedings
                        •   Dismissal of a foreign defendant for lack of jurisdiction in a commercial
                            dispute

                        PROFESSIONAL ACTIVITIES AND MEMBERSHIPS
                        • Federal Bar Association
                        •   State Bar of Texas
                        •   Texas Bar Association
                        •   Texas Bar Foundation (by invitation, <1% of Texas attorneys)
                        •   Austin Bar Association (Judicial Affairs Committee)

                        EDUCATIONAL BACKGROUND
   Austin
   Beijing
                        1997 - J.D., The University of Texas School of Law
   Dallas               1988 - M.B.A., Finance concentration, The University of Texas
   Denver               1985 - B.A., cum laude, English major, French minor, Texas A&M University
   Dubai
   Hong Kong            While in law school, Paul served as a law clerk, served on the Board of Texas Law
   Houston              Fellowships and was active in trial advocacy competitions.
   London
   Los Angeles          INTERESTS
   Minneapolis          Paul enjoys spending time with his family, fishing, cooking and following sports.
   Munich
   New York             CIVIC INVOLVEMENT
   Pittsburgh-          • Diversity Mentoring Program
   Southpointe
   Riyadh               •   Eanes Education Foundation, past President and Board Member
   San Antonio
                        •   Volunteer Legal Services, Board of Directors
   St Louis
   Washington, D.C.     •   Leadership Austin
                        •   High School mentor
                        •   Special Education Parent Clinic volunteer
Case
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                                                              BIOGRAPHY: Osborne J. Dykes, III


                                            Osborne J. Dykes, III
                                            Of Counsel, Denver

                                            AREAS OF CONCENTRATION
                                            •   Litigation                             •   Contract
                                            •   Energy                                 •   Tort
                                            •   Environmental                          •   Libel and Slander
                                            •   Construction
                                            EXPERIENCE
                                            Jeff Dykes’ practice as a trial lawyer has covered a wide range of cases, including
                                            energy, environmental, tort, contract, and construction matters. He has tried over
                                            seventy cases to jury verdict and he is certified as a Specialist in Civil Trial Law
                                            by the Texas Board of Legal Specialization.
                                            Significant cases include:
Osborne J. Dykes, III
jdykes@fulbright.com                        •   Representation of an owner of a nuclear power plant in litigation against the
                                                architect-engineer-constructor and the project manager for cost and schedule
Denver                                          overruns. The appeal of one aspect of this litigation is reported as City of
Republic Plaza                                  Austin v. Houston Lighting and Power Co., 844 S.W. 2d 773 (Tex. App--
370 17th Street
Suite 2150                                      Dallas 1992, writ denied)
Denver, CO 80202-5638                       •   Representation of major airline company in defense of suit by partners for
D: +1 303 801 2745
T: +1 303 801 2700                              alleged failure to properly manage project to develop state-of-the-art software
F: +1 303 801 2777                              for hospitality industry
                                            •   Lead counsel for waste disposal company in suit against environmental
Houston
Fulbright Tower                                 insurance company for bad faith denial of claims
1301 McKinney                               •   Lead counsel for a pipeline company against three gas producers in a fraud
Suite 5100
Houston, TX 77010-3095                          suit to terminate a long-term gas purchase contract
D: +1 713 651 5545                          •   Lead counsel for major oil and gas company in binding arbitration against
T: +1 713 651 5151
F: +1 713 651 5246                              royalty owners involving valuation of the royalty interest
                                            •   Lead counsel for a chemical company in a defamation suit involving patent
Experience                                      and technology rights
  • First-chair litigator for jury trials
  • Represents both plaintiffs and          •   Lead counsel for oil and gas company in suit by state environmental agency
    defendants                                  for recovery of remediation expense; appeal is reported as In the Matter of
                                                Crystal Oil Co., 158 F.3d 291 (5th Cir. 1998)
Industries
  •   Energy and Utilities                  •   Lead counsel for oil and gas company in suit by state highway department for
  •   Oil and Petroleum Products                environmental clean-up costs; appeal of one aspect of the case in reported as
  •   Natural Gas
  •   Pipelines                                 Louisiana Department of Transportation and Development v. Kansas City
  •   Insurance                                 Southern Railway, 827 So. 2d 443 (La. App. 2d Cir. 2002), rev'd 846 So. 2d
                                                734 (2003)
                                            •   Lead counsel for oilfield services company in toxic tort suit by over 1,000
                                                plaintiffs for alleged personal injuries and diminution of property values
                                            •   Lead counsel for coal mining and quarry companies in antitrust price-fixing
                                                suit against manufacturers of commercial explosives
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                                         BIOGRAPHY: Osborne J. Dykes, III

                        •   Lead counsel for an oil and gas company in an alleged class action suit in
                            which plaintiff royalty owners claimed intentional undermeasurement of
                            purchased oil on a statewide basis for over a fourteen-year period
                        •   Lead counsel for 22 pipeline companies as plaintiffs against a state port
                            authority and the U.S. Army Corps of Engineers concerning the cost of
                            relocating pipelines to accommodate a federal-state navigation project; appeal
                            is reported as Air Liquide America Corp. v. U.S. Army Corps of Engineers,
                            359 F.3d 358 (5th Cir. 2004) cert. denied 125 S.Ct.107 (2004)
                        •   Lead counsel for transmission pipeline companies in suits by municipalities
                            for franchise or "street-crossing" fees
                        •   Lead counsel for a physician staffing company in suit against medical
                            malpractice insurer for bad faith cancellation of coverage; appeal is reported
                            as Scottsdale Ins. Co. v. National Emergency Services, Inc., 175 S.W.3d 284
                            (Houston [1st Dist.] 2004, pet. denied)
                        •   Lead counsel for a Qualified Scheduling Entity in antitrust suits alleging
                            manipulation of the Texas wholesale electricity market. The appeal of one
                            such case is reported as Texas Commercial Energy v. TXU Energy, Inc., 413
                            F.3d 503 (5th Cir. 2005) cert. denied 126 S.Ct. 1033 (2006)
                        •   Lead counsel for directors of parent company of insolvent HMOs in litigation
                            raising issues of corporate governance and corporate separateness
                        •   Representation of a former owner of an aluminum extrusion plant in an action
                            under CERCLA for costs to respond to groundwater contamination
                        •   Representation of pipeline company in dispute arising from construction of
                            gas processing plant in Wyoming, in which contractor made claim for
                            additional compensation not covered by change orders
                        •   Lead counsel for exploration and production company in suits by surface
                            owners to compel directional drilling and for surface damages. In one such
                            case, the trial court’s rulings on summary judgment and following trial are
                            reported as Zeiler Farms, Inc. v. Anadarko E&P Company et al., 2009 WL
                            890716 and 2010 WL 2681724 (D. Colo.)
                        •   Representation of oil and gas operator in suit for damages allegedly caused by
                            subsurface trespass and migration of coal bed methane gas
                        •   Representation of NASCAR racetrack owner in suit for breach of contract to
                            sell racetrack
                        •   Representation of individual in quantum meruit suit against Las Vegas Sands,
                            Inc. to recover value of services in obtaining gaming license in Macau. An
                            appeal of this case is reported as Las Vegas Sands, Inc. v. Suen, 2010 WL
                            4673567 (Nevada)
                        •   Representation of title insurance company in suit for policy proceeds and bad
                            faith
                        •   Representation of major interstate pipeline company in suit for breach of
                            contract against Minerals Management Service of U.S. Department of Interior
                        •   Lead counsel for major health insurance company in trademark infringement
                            suit
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                                         BIOGRAPHY: Osborne J. Dykes, III

                        PROFESSIONAL ACTIVITIES AND MEMBERSHIPS
                        • Colorado Bar Association
                        • The Rocky Mountain Mineral Law Foundation
                        • Denver Petroleum Club, Director
                        • Federal Bar Association, Past President, Southern District of Texas Chapter
                        • Texas Bar Association
                        • Texas Association of Civil Trial and Appellate Specialists, Director and Past
                          President

                        PROFESSIONAL HONORS
                        • American Board of Trial Advocates, Advocate
                        • “Colorado Super Lawyer,” Law & Politics
                        • “Texas Super Lawyer,” Law & Politics
                        • Chambers USA, ranked among the leading attorneys in Energy & Natural
                          Resources in Texas
                        • Legal 500 US, noted for Energy: Litigation work (2011)
                        • The Best Lawyers in America
                        • Who's Who in American Law

                        PUBLICATIONS
                        • Co-author, Trends In Energy Litigation, 2007
                        • Co-author, "Issues Impacting the Energy Industry After the Hurricanes," State
                          Bar of Texas, Oil, Gas, and Energy Section Report, December 2005
                        • Co-author, Trends In Energy Litigation, 2004
                        • "Street Crossing Fees: A Misconceived Attack On The Pipeline Industry,"
                          World Energy, 1998

                        SPEECHES
                        • “Surface Owners vs. Mineral Lessees,” Denver Petroleum Club, March 2008
                        • "Duties of Directors," Fulbright & Jaworski L.L.P. Client Seminar, Denver,
                           Colorado, September 2007
                        • “Getting Ahead of the Game: Planning for E-Discovery Before Litigation
                           Happens,” Fulbright & Jaworski L.L.P. Client Seminar, Denver, Colorado,
                           May 2007
                        • "Oil and Gas Development in the Rockies: The Risks and Rewards,"
                           Fulbright & Jaworski L.L.P. and IPAMS Client Seminar, Panel Moderator,
                           Denver, Colorado, October 2006
                        • "Current Issues in Gas Marketing, Civil and Criminal Perspectives,"
                           Fulbright & Jaworski L.L.P. Client Seminar, Panel Moderator, Denver,
                           Colorado, September 2006
                        • "The Energy Industry After the Hurricanes: Dealing with Storms of
                           Controversy and Private Law," Fulbright & Jaworski L.L.P. Client Seminar,
                           Panel Moderator, Houston, Texas, November 2005
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                                         BIOGRAPHY: Osborne J. Dykes, III

                        •   "Best Practice: Establish a Records Management Policy - And Designate One
                            Person Who Is Truly Responsible," Panelist, Martindale-Hubbell Counsel-to-
                            Counsel Forum, Houston, Texas, November 2005
                        •   "Directors' Duties in the Zone Of Insolvency," Financial Executives
                            International, Houston, Texas, September 2004
                        •   "Cities versus Pipelines: Issues On And Below The Surface," Fulbright &
                            Jaworski L.L.P. Client Seminar, Houston, Texas, May 2004
                        •   "Energy Litigation Trends 2004," Fulbright & Jaworski L.L.P. Client Seminar,
                            Panel Moderator, Houston, Texas, April 2004
                        •   "Changing The Rules (State and Federal)," El Paso Corporation, Legal
                            Department, Houston, Texas, February 2004

                        EDUCATIONAL BACKGROUND
                        1972 - J.D., University of Texas School of Law
                        1968 - M.A., Humanities and German, Stanford University
                        1966 - B.A., with distinction, Germanic Languages, Stanford University
                        While attending Stanford University, Jeff was elected to Phi Beta Kappa. He
                        attended the Free University of Berlin on an exchange graduate fellowship. While
                        attending law school, he was elected to the Order of the Coif and the Texas Law
    Austin              Review. In 1972-73, Jeff served as a law clerk for the Honorable Homer
    Beijing             Thornberry of the United States Court of Appeals for the Fifth Circuit.
    Dallas
    Denver              Jeff is admitted to the bar in Colorado and Texas, and he is admitted to practice
    Dubai               before the United States Supreme Court, the U.S. Courts of Appeals for the Fifth,
    Hong Kong           Tenth, and Eleventh Circuits, and the U.S. District Courts for the District of
    Houston             Colorado and the Southern, Eastern, and Northern Districts of Texas.
    London
    Los Angeles         INTERESTS
    Minneapolis         Jeff is an avid bicyclist and a founding member of the Rocket Sprockets cycling
    Munich              team. He has completed the 500-mile “Pedal The Peaks” tour of the Rockies,
    New York            twelve MS 150 bicycle tours from Houston to Austin (182 miles), and the 120-
    Riyadh              mile “Triple Bypass” and the 80-mile “Copper Triangle” in Colorado.
    San Antonio
    St Louis
                        LANGUAGE CAPABILITIES
    Washington, D.C.
                        • German – Fluent
                        • French – Limited Proficiency

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                                                          BIOGRAPHY: Jane Snoddy Smith


                                      Jane Snoddy Smith
                                      Partner

                                      "Creative business solutions and sound risk management strategies"

                                      AREAS OF CONCENTRATION
                                      •   Real Estate                                •   Climate Change
                                      •   Real Estate Tax                            •   Energy
                                      •   Retail and Mixed Use                       •   Health Care
                                          Developments                               •   Wind and Solar Energy
                                      •   Environmental
                                      •   Structured and Project Finance

                                      EXPERIENCE
Jane Snoddy Smith                     Jane Smith's practice focuses on transactional law with a concentration in
jsmith@fulbright.com                  commercial real estate. Her broad range of experience extends to the:
D: +1 512 536 5238
                                      •   Creation of joint ventures for multi-family, retail and office projects
Austin
98 San Jacinto Boulevard              •   Sale of industrial and office properties
Suite 1100
Austin, TX 78701-4255                 •   Evaluation of distressed properties
T: +1 512 474 5201
F: +1 512 536 4598                    •   Formation of urban redevelopment and public private partnerships

Experience
                                      •   Evaluation of alternative energy projects
  • Complex multi-state and multi-    •   Operation of shopping centers
    national transactions and FCPA
  • Extensive shopping center
    transactions
                                      •   Negotiation of office, industrial, and retail space leases
  • All types of lending secured by
    real estate
                                      •   Development of medical office buildings
  • Retail, multi-family, mixed use
    hotel, residential & office
                                      •   Construction of mixed use and brownfield projects
    development
  • Compliance, ADA, FHA, Land
                                      Jane has extensive expertise in shopping centers, having worked on transactions
    use regulation and impact fees    involving more than 130 regional, million-plus square foot centers in more than 34
  • Brownfield redevelopments wind    states. She also has experience with equity investments in real estate, all types of
    and alternative energy LEED
    green building                    lending secured by real estate representing life insurance companies, national
                                      banking associations and investment funds.
Industries
  • Real Estate                       She represents clients on a range of complex multi-state and multi-national
  • Banking and Finance               transactions. Her client counsel includes tax advantage strategies for investment
  • Construction and Building
    Materials                         property, the redevelopment of manufacturing sites into commercial uses, in-fill
  • Retail                            and mixed-used development and dispositions of properties needing remedial
  • Energy and Utilities
  • Health Care Products and
                                      action plans.
    Services
                                      Her clients have included banking institutions, hospitals, real estate investment
                                      trusts (REITs), national insurance companies, pension fund advisors, national real
